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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

BLANCA VALENZUELA, MARGIE
SALAZAR, JOSE A. SERRATO, JOSIE.
RENDON, CARA TOVAR, CONSUELO
ESPINO, MARIA AVILA, ERNESTINA
NAVARRETTE, MARIA E. MUNOZ,
AMANDA SALCIDO, CANDELARIO G.
ORTEGA, MARIA ORTIZ, JOSE OLIVA,
RAFAELA CHAVEZ, ELODIA ARROYO,
SUSANA CARDIEL, GRACIE RIOS, AND
LEONEL RUIZ, individually and on behalf of
all others similarly situated

Civil Action No. 3-06CV2322-N
Plaintiffs,

vs.

SWIFT BEEF COMPANY, INC. D/B/A/
SWIFT COMPANY, SWIFT & COMPANY,
HICKS, MUSE, TATE & FURST, INC.,HM
CAPITAL PARTNERS OF DALLAS, LLC
AND JOHN DOES I-V

Defendants

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DECLARATION OF GEORGE BORJAS, Ph.D.

I QUALIFICATIONS AND STATEMENT OF ASSIGNMENT

1. My name is George Borjas and I am the Robert W. Scrivner Professor of Economics
and Social Policy at the John F. Kennedy School of Government, Harvard University,
as well as a Research Associate at the National Bureau of Economic Research. J ama

labor economist. My area of specialization is the application of microeconomic

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theory, econometrics, and data analysis to labor market issues. I have published over
100 articles in books and scholarly journals, including the American Economic
Review, the Journal of Political Economy, and the Quarterly Journal of Economics. I
have published or edited several books specifically dealing with the economics of
immigration, including Friends or Strangers: The Impact of Immigrants on the U.S.
Economy and Heaven's Door: Immigration Policy and the American Economy. | am
also the author of a textbook, Labor Economics, which is used to teach labor
economics at the undergraduate level, and is now in its fourth edition. I have been
elected a fellow of the Econometric Society and of the Society of Labor Economists. I
was an editor of the Review of Economics and Statistics, am now in the editorial
board of the Journal of Human Capital, and have been on the editorial boards of the
Quarterly Journal of Economics and the International Migration Review. I have also
been a consultant to the Office of the Attorney General of the State of California, to
the World Bank, and to law firms engaged in litigation involving employment and
wage-setting in labor markets. I earned my Ph.D. in economics from Columbia
University in 1975 where my fields of specialization were labor economics and
econometrics. A list of my professional publications and academic affiliations and

_ engagements is included in my curriculum vitae, which is attached as Appendix A.

2. I have been retained by Counsel for the Plaintiffs to provide economic analysis and
expert testimony in the matter of Valenzuela, et al (“Plaintiffs”) versus Swift Beef
Company, Inc., et al (“Swift”). I understand this case to involve a claim that wages
paid and benefits provided by Swift to their employees in several plants in different
states who were legally authorized to work in the United States were depressed as a
result of Swift’s alleged practice of employing legally ineligible workers.
Specifically, I have been asked by Counsel to determine the feasibility of using
common proof to estimate any damages to Plaintiffs resulting from Swift’s practice of
employing illegal workers, and calculating these individual and class damages on a

class-wide basis.

I will use the term “wage” to include generally both wages and benefits.

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3. I have been advised by Counsel that fact discovery has not yet begun in this case.
This report and the opinions expressed herein are based on my understanding of the
issues involved in the case, together with my training, education, and experience.
Documents, deposition testimony, or other materials may become available that could

lead me to supplement my conclusions.

4, I charge a standard hourly rate for work in this matter. My standard billing rate is
$625 per hour. Payment is not contingent on my opinion expressed, or on the

outcome of this case.

5. A list of my prior depositions and testimony over the last four years is included in

Appendix B. I include the list of materials considered for this report in Appendix C.

U BACKGROUND

6. I have contributed significant authorship to the well-developed literature in
economics documenting the impact of immigration on the earnings and employment
opportunities of native-born persons.” This body of research relies on fundamental
theoretical models of labor supply and labor demand to determine the impact of
increased immigration on the wage and employment opportunities of the pre-existing
workforce.’ The empirical analysis in these studies typically uses regression methods
where compensation or some other labor market outcome is the dependent variable.
This dependent variable is then related to immigration-induced supply shifts to
measure the sensitive of compensation to these supply shifts. To the extent possible,
the regression model would use firm and worker characteristics as control variables.

The theoretical models and empirical methodologies found in the literature provide

For example, see Borjas, G., “Immigrants, Minorities, and Labor Market Competition,” Industrial and
Labor Relations Review, April 1987, pp. 382-392; Borjas, G., “How Much Do Immigration and Trade
Affect Labor Market Outcomes?” (with Richard B. Freeman and Lawrence F, Katz), Brookings Papers
on Economic Activity, 1997, pp. 1-67; and Borjas, G., “The Labor Demand Curve Js Downward
Sloping: Reexamining the Impact of Immigration on the Labor Market,” Quarterly Journal of
Economics, November 2003, pp. 1335-1374.

For example, see the surveys, Borjas, G., “The Economics of Immigration.” Journal of Economic
_Literature, December 1994; and Borjas, G., “The Economic Analysis of Immigration,” in O.
Ashenfelter and D. Card, Eds., Handbook of Labor Economics, 1999 vol. 3A, pp. 1697-1750.

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appropriate techniques that may be used to estimate the impact of Swift’s practice of
employing illegal workers on the earnings of their employees who were legally

authorized to work in the United States.

7. The central issue that forms the basis of Plaintiff's complaint is amenable to
economic analysis. Paul Samuelson’s classic introductory economics textbook (1964
edition) clearly summarizes what should happen in the labor market as a result of an

immigration-induced change in the supply of labor:

“After World War I, laws were passed severely limiting immigration.
Only a trickle of immigrants has been admitted since then...By keeping
labor supply down, immigration policy tends to keep wages high. Let -
us underline this basic principle: Limitation of the supply of any grade
of labor relative to all other productive factors can be expected to raise
its wage rate; an increase in supply will, other things being equal, tend

to depress wage rates.’””

8. Because of the policy implications associated with determining the impact of
immigration on the labor market, a large literature in labor economics investigates
how best to measure the wage impact of immigration.> For most first-generation
studies, the starting point was the fact that immigrants in the United States tend to
cluster in a relatively small number of geographic areas. A typical study® defines a

geographic region (e.g., the state or metropolitan area) as the labor market that is

4 Samuelson, Paul A., Economics, 6" Edition, New York: McGraw-Hill, 1964, p. 552.

5 See the survey: by Friedberg, Rachel M., and Jennifer Hunt, “The Impact of Immigration on Host
Country Wages, Employment and Growth,” Journal of Economic Perspectives, 9(2), 1995, pp. 23-44.

6 For example, see Grossman, Jean Baldwin, “The Substitutability of Natives and Immigrants in
Production,” Review of Economics and Statistics, 54(4), 1982, pp. 596-603; Borjas, George J.,
“Immigrants, Minorities, and Labor Market Competition,” Industrial and Labor Relations Review,
40(3), 1987, pp. 382-92; Altonji, Joseph G., and David Card, “The Effects of Immigration on the Labor
Market Outcomes of Less-Skilled Natives,” in John M. Abowd and Richard B. Freeman, eds.,
Immigration, Trade, and the Labor Market, Chicago: University of Chicago Press, 1991, pp. 201-234;
Card, David, “Immigrant Inflows, Native Outflows, and the Local Labor Market Impacts of Higher
Immigration,” Journal of Labor Economics, January 2001, pp. 22-64; and LaLonde, Robert J., and
Robert H. Topel, “Labor Market Adjustments to Increased immigration,” in John M. Abowd and

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penetrated by immigrants. The study then goes on to estimate the relation between
the wage of native workers in a locality and the relative number of immigrants in that
locality. A negative association between the two variables, indicating that native
wages are lower in markets with a higher proportion of immigrants, would suggest
that an inflow of immigrants worsens the employment opportunities of competing

native workers.

9. Although there is some variation in the findings reported in the literature, past
empirical studies (mostly using metropolitan areas as the geographic dimension of the
labor market) have tended to find that such negative associations, if they exist, are
weak, helping to create the impression that immigrants may have little impact on the
labor market opportunities of native workers. Recent research, however, raises two
questions about the validity of interpreting the absence of negative associations across
geographic areas as evidence that immigration has no labor market impact. First,
immigrants may not be randomly distributed across labor markets. If immigrants
cluster in cities with thriving economies and high wages, wages will tend to show a
positive association with the fraction of immigrants in the locality.’ Second, natives
may respond to an adverse wage impact of immigration by moving their labor or
capital to other cities. For example, some employers, observing that cities in certain
geographic areas with higher concentrations of low-skill immigrants have cheaper
labor costs, will want to relocate to those cities. Simultaneously, laborers living in
those localities directly impacted by immigration may decide to move elsewhere.
These flows of labor and capital would diffuse the labor market impact of
immigration across the national economy, and would tend to equalize economic

_ conditions across localities. As a result, inter-city comparisons of wage rates may not

Richard B. Freeman, eds., Immigration, Trade, and the Labor Market, Chicago: University of Chicago
Press, 1991, pp. 167-199,

Borjas, George J., “Does Immigration Grease the Wheels of the Labor Market?,” Brookings Papers on
Economic Activity, 2001, pp. 69-119.

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be very revealing. However, there is no consensus in the academic literature on to

what extent such capital or labor flows actually occur.

Because of these issues, a new strand of the literature emphasizes that the labor
market impact of immigration may be better measured at more aggregated units, such
as the state or national labor market, and by examining wage trends among more
narrowly defined skill or occupational groups.” These newer studies tend to reveal a
more negative (and statistically significant) relationship between immigration-
induced increases in labor supply and wages for particular skill groups. In rough
terms, these studies indicate that a ten percent immigration-induced increase in the
supply of labor lowers wages for the set of relevant workers in the labor market by

around three to four percent.

It is important to emphasize that the existing academic literature addresses the link
between immigration and wages in labor markets that are typically defined by
geography and/or skills. I am only aware of only one (as yet unpublished) study that
has examined how wages respond to immigration at the level of a particular firm—
and this study examines the labor market in Denmark.!° The lack of U.S. evidence at
the firm level most likely indicates the difficulty that economists typically have in
obtaining (often confidential) firm-level data on employment and wages. The absence
of documented evidence on the impact of immigration at the firm level, however,

may suggest that the estimates reported in the academic literature may not be directly

See Filer, Randall K., “The Impact of Immigrant Arrivals on Migratory Patterns of Native Workers,” in
Immigration and the Work Force: Economic Consequences for the United States and Source Areas,
eds., George J. Borjas and Richard B. Freeman, Chicago: University of Chicago Press 1992, pp. 245-
69; Card, David, “Immigrant Inflows, Native Outflows, and the Local Labor Market Impacts of Higher
Immigration,” Journal of Labor Economics, January 2001, pp. 22-64; and Borjas, George J., “Native
Internal Migration and the Labor Market Impact of Immigration,” Journal of Human Resources, 41,
Spring 2006, pp. 221-258.

Borjas, George J., “The Labor Demand Curve Js Downward Sloping: Reexamining the Impact of
Immigration on the Labor Market,” Quarterly Journal of Economics, 118, November 2003, pp. 1335-
1374; Mishra, Prachi, “Emigration and Wages in Source Countries: Evidence from Mexico,” Journal of
Development Economics, Volume 82, Issue 1, January 2007, pp. 180-199; Aydemir, Abdurrahman and
George J. Borjas, “Cross-Country Variation in the Impact of Immigration: Canada, Mexico, and the
United States,” Journal of the European Economic Association 5 (June 2007): 663-708.

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applicable to the Swift context. In this report, I suggest various ways in how I would
potentially go about adapting existing methodologies in the academic literature to
measure the impact of immigration-induced labor supply changes on wages at the

firm level.

12. It is also worth emphasizing that the debate in the academic literature as to whether
the labor market impact of immigration is best measured at the level of the local labor
-market or at a more aggregated level may not be directly relevant for estimating the
wage impact of the alleged employment practices at Swift. The possibility that many
workers move from city to city, thereby attenuating the labor market impact of
immigration on the average worker in a particular immigrant-receiving locality, does
not negate the possibility that there may be some firms within that locality with a
workforce that is not particularly mobile, opening up significant opportunities for that

firm to use some degree of discretion in its wage-setting decisions.

13. In fact, the testimony of Douglas W. Schult, who began working at Swift in June
2000 as the Vice President of Field Operations for Human Resources, suggests that
Swift indeed has some flexibility in setting wage rates at its various plants. Most of
the Swift plants are unionized and these union contracts tend to set both a “starting
rate”—the hourly wage rate paid to newly hired workers—and a “base rate”—the
hourly wage paid to someone who has been at the firm for some amount of time
(perhaps as long as 2 years). Mr. Schult’s testimony suggests that Swift had some
leeway in determining how much workers at the various plants actually got paid. As
an example, apparently without paying much regard to local labor market conditions
or to the wage paid by competing firms, Swift unilaterally chose to raise the starting
wage at some (but not all) of its plants prior to the ICE raids of December 2006 (April
8 2008 testimony, pp. 105, 142). Specifically, in October 2006, the start rate was
raised to the same rate ($11.50 an hour) in some of the plants. This wage increase was

designed to attract a sufficiently large workforce so as to ensure that the plants would

See Malchow-Meller, Nikolaj, Jakob Roland Munch, and. Jan Rose Skaksen, “Do Immigrants Affect
Firm-Benefit Wages,” IZA Workiing Paper No. 3264, December 2007.

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be fully staffed should the ICE-related events lead to a sudden cutback in the number
of workers. Mr. Schult’s testimony suggests that the start rate was increased in the
plants that were most “vulnerable” to the ICE investigation—e.g., the rates were not
raised at the Hyram, Utah plant or at the Louisville plant (ibid, p. 143). Swift also
changed unilaterally other aspects of its employment offer—for example, the amount
of time it takes to progress from the start to base rate. Mr. Schult’s testimony (p. 96)
reports that Swift cut this time of progression from 18-24 months to 90 days in
anticipation of the ICE events. It is notable that not all of its competitors matched the

wage changes at Swift.

14. It is notable that wages at Swift plants are set centrally by Swift Corporate (Mr.
Schult deposition, April 8, 2008 deposition, p. 17, lines 22-25, and p. 29).

15. The academic literature exploits differences in wages across regions or skill groups
and how these differences relate to the volume of immigration in a particular labor
market to estimate the wage impact of immigration. Similarly, it should be possible to
exploit the differences in wages across plants or over time and information on
immigration-induced supply shocks to estimate the wage impact of unauthorized
hiring in the present context. In other words, the data resulting from the changes in
wage-setting practices and employment conditions—combined with detailed
information provided by the union contracts—can be used in conjunction with the
conceptual and econometric models in the academic literature to estimate the wage
impact of immigration. Once this wage impact is estimated, it would then be possible
to determine the damages to the Plaintiffs, collectively and individually, on a class-
wide basis. Using information that can be obtained from Swift giving various
employee-specific characteristics, the results from the model may be applied to each

member of the class to calculate the wage losses resulting from the wage depression.

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il PROPOSED APPROACH FOR ASSESSING IMPACT ON SWIFT CLASS

16. Simply put, the analysis will consist of the following steps: First, I will determine if
Swift’s wage-setting practices are consistent with what one would expect to observe
for a firm that attracts labor from the local pool of applicants by offering competitive
wages that vary with local labor market conditions, or if Swift’s wage-setting
practices reflect those of a firm that pays a wage that guarantees a steady supply of
applicant labor from some source, not necessarily the local labor market. Second, a
regression model would be used to estimate how much wages have been depressed by
Swift’s alleged practice of employing legally ineligible workers. A key ingredient of
this type of analysis involves using multivariate regression techniques to estimate a
parameter called the “wage elasticity”, which measures the responsiveness of average
hourly earnings in Swift to a percent increase in labor supply at Swift. The regression
model would use information on wages paid to Swift workers at specific locations,
the number of workers employed at the various Swift locations, and the size of the
immigration-induced labor supply shift in the surrounding geographic area. To isolate
the correlation of interest, the regression analysis would control for variables that
might independently influence the wage of workers, including sex, age, location, and
seniority. Finally, I would combine the estimate of the wage elasticity with an
estimate of the supply shift due to the hiring of illegal immigrant to calculate damages
to each class member and to calculate the total value of lost wages for the entire class.
I emphasize that this calculation requires information not only on the wage elasticity,
but also on the quantity of labor supplied by both legal and illegal workers during the

period when the alleged employment of illegal workers took place.

17. Depending on the nature of the data available after further discovery, the
methodology used to measure the wage elasticity described above may need to be
adapted to the nature of the available information. For instance, it may be possible to
use the longitudinal nature of the available data (where the hourly wage of a given
worker is carefully tracked from year to year) to determine how the wage of a

particular worker employed at Swift—relative to comparable workers employed in

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other firms that Swift competes with for labor services—changed as a result of the

changes in the labor supply of workers offering their services to Swift.

18. As noted above, the general methodology will be adapted to use specific information
regarding wage-setting practices at Swift that have been revealed by discovery. For
example, the unilateral wage increase that Swift imposed on some of its plants prior
to the ICE raids suggests that Swift does not necessarily follow the wage-setting
practices of a firm operating in a perfectly competitive labor market, where the firm
would simply pay the “going wage.” In addition, through further analysis, the
unilateral wage increase may provide information about the wage consequences of

replacing a fraction of the unauthorized workforce at Swift with authorized workers.

IV. DATA

19. Damages can be calculated using the econometric model summarized above,
provided that adequate data regarding legal status, individual characteristics, nature of
employment, and wages and earnings for employees of Swift can be obtained for a
sufficient period of time to allow a statistical analysis of how Swift’s wage-setting
behavior reacts to changes in the supply of unauthorized workers. Data may be found

in the following:

e 1-9 forms showing the legal status of each employee. Because of the ICE events in
2006, there already exist prepared lists of workers who were detained by ICE at
the time of the raids as well as of some workers terminated by Swift because of
identity fraud prior to the raids. It has been estimated that at least 10 percent of
workers at the Swift plants had invalid documents (the 1300 detained by ICE as
well as 400 workers terminated soon thereafter by Swift). These objective data

can be used to assess the extent of unauthorized hiring in the Swift plants.

e Bargaining agreements with the union, including information on the “starting
wage” and the “base wage.” Documents detailing decision to unilaterally increase
the starting wage (or change other aspects of the employment package) at a subset
of plants to the base wage prior to the ICE raids.

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¢ Employment records (in electronic form) showing each employee’s start and end
date of employment with the firm, job title, job designation (e.g., supervisor,
manager), and demographic information (e.g., age, sex, education level, race,

ethnicity, and marital status).

¢ Payroll records (in electronic form) showing each employee’s wage rate (hourly
wage and/or set piece rate), hours and days worked, and earnings for each pay

period.
e W-2 forms showing the annual incomes of each employee.

e Other employment records of each employee related to benefits, including

workers compensation.

20. =‘ This information, in addition to publicly available data on labor market conditions in
various states, will enable me to calculate the lost wages to the Plaintiffs resulting
from Swift’s practices at issue in this case. The information listed above, in addition
to publicly available data on labor market conditions in the local areas where Swift
operates, will enable me to calculate the lost wages to the Plaintiffs resulting from

Swift's practices at issue in this case.

V CONCLUSIONS

21. It is my opinion that individual class member and class-wide damages can be

calculated on a class-wide basis.

22... My opinion is based on the assumption that in addition to the information already
produced by Swift, further discovery will provide the data that I will need to

implement an appropriate model as described and estimate damages.

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I declare under penalty of perjury of the laws of the United States that the foregoing is
true and correct. Executed on April 21, 2008 at Cambridge, Massachusetts.

George J. Borjas

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Appendix A:

Curriculum Vitae of George Borjas

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April, 2008
CURRICULUM VITAE
George J. Borjas
Business Address:
John F. Kennedy School of Government
‘Harvard University
79 John F. Kennedy Street
Cambridge, MA 02138
Telephone: (617) 495-1393
FAX: (617) 496-5960
E-mail: gborjas@harvard.edu
Web: http://www.borjas.com
Blog: http://www.borjas.typepad.com/
Personal Data:
Born October 15, 1950
Married; three children
Education:
Ph.D. (Economics) 1975, Columbia University
M.Phil. (Economics) 1975, Columbia University
M.A. (Economics) 1974, Columbia University
B.S. (Economics-Mathematics) 1971, St. Peter's College
Honorary Degrees:
L.H.D. (Doctor of Humane Letters) . 2003, St. Peter’s College
Professional Experience:
2002- Robert W. Scrivner Professor of Economics and Social Policy,
Harvard University
1983- Research Associate, National Bureau of Economic Research
1995-2002 Pforzheimer Professor of Public Policy, Harvard University
1990-1995 Professor of Economics, University of California, San Diego
1988-1989 Visiting Scholar, Harvard University
1982-1990 Professor of Economics, University of California, Santa Barbara
1980-1982 Associate Professor of Economics, University of California, Santa Barbara
1978-1980 ° Assistant Professor of Economics, University of California, Santa Barbara

1977-1978 Post-Doctoral Fellow, Department of Economics, University of Chicago
1975-1977 Assistant Professor of Economics, Queens College of the City University
of New York

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1972-1978 Senior Research Analyst, National Bureau of Economic Research

Honors:

Fellow, Society of Labor Economists, elected in 2004.
Estrada Fellowship in Immigration Studies, 2000.
Fellow, Econometric Society, elected in 1998.
Listed in:
Who's Who in the World
Who's Who in America
Who’s Who in Economics
Who's Who in Finance and Industry
Who's Who of Emerging Leaders in America
Who's Who in the West
Outstanding Young Men of America
Member, State of California, Governor Council of Economic Advisors, 1993-1998.
University of California Faculty Development Fellowship, Summer 1979.
National Institute of Mental Health Post-Doctoral Research Fellowship, University of Chicago,
1977-1978.

Editorial Boards:

Board of Editors, Journal of Human Capital, 2007-present
Editor, Review of Economics and Statistics, 1998-2006
Editorial Board, International Migration Review, 1992-present
Editorial Board, Quarterly Journal of Economics, 1992-1998
Editorial Board, Review of Economics and Statistics, 1997-1998

Other Professional Experience:

Senior Research Affiliate, National Poverty Center, University of Michigan, 2003-present.

Member, Policy Board, Center for Immigration Studies, 2003-2004.

Elected to Policy Council, Association for Public Policy Analysis and Management, 2000-2003.

Member, Program Committee, Association for Public Policy Analysis and Management, October
1998.

Consultant, The World Bank, 1998.

Senior Affiliate, Joint Center for Poverty Research, 1998-2003.

Member, External Advisory Board, Joint Center for Poverty Research, 1998-present.

Chair, Committee of Visitors, National Science Foundation, Economics Program, 1996.

Co-Chair, Harvard Refugee Project, Institute for Social and Economic Policy in the Middle East,
John F. Kennedy School of Government, 1996-1998.

Member, Program Committee, 1996 Meetings of the American Economic Association

Member, Panel on Demographic and Economic Impacts of Immigration, National Academy of
Sciences, 1995-1997.

Member, Social Science and Population Study Section, National Institutes of Health, 1995-1997.

Committee of Visitors, National Science Foundation, Economics Program, 1992.

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Member, Program Committee, 1993 North-American Winter Meetings of the Econometric
Society.
Faculty, Foundation for American Communications, 1991.
Other Professional Experience (Continued):

Economist, Unicon Research Corporation, 1983-1991.
Member, American Economic Association, Committee on the Status of Minority Groups in the
, Economics Profession, 1986-1992.

Member, Advisory Panel in Economics, National Science Foundation, 1988-1990.

Vice-Chairman, Department of Economics, University of California, Santa Barbara, 1984- 1988.

Director of Graduate Program, Department of Economics, University of California, Santa
Barbara, 1984-1988.

Member, Panel on Immigration Statistics, National Academy of Sciences, 1983-1984.

Member, Advisory Panel, Social Science Research Council, National Commission for Research
on the 1980 Census, 1983-1985.

Visiting Fellow, Department of Economics, University of Warwick, England, Summer 1982.

Editorial Consultant, American Economic Review, 1977-1980.

Publications:

1. Books and Monographs

Wage Policy in the Federal Bureaucracy, American Enterprise Institute, Washington, D.C.,
1980.

Hispanics in the U.S. Economy (edited with Marta Tienda), Academic Press, 1985.

International Differences in the Labor Market Performance of Immigrants, W.E. Upjohn
Institute for Employment Research, 1988.

Friends or Strangers: The Impact of Immigrants on the U.S. Economy, Basic Books, 1990;
Paperback edition, 1991.

Immigration and the Work Force: Economic Consequences for the United States and Source
Areas (edited with Richard B. Freeman), University of Chicago Press, 1992.

‘Heaven's Door: Immigration Policy and the American Economy, Princeton University Press,
1999; Paperback edition, 2001.

Labor Economics, McGraw-Hill, 1996; Second Edition, 2000; Greek Translation, 2003; Chinese
Translation, forthcoming 2004; Third Edition, 2005; Fourth Edition 2008.

Issues in the Economics of Immigration, editor, University of Chicago Press, 2000.
Poverty, International Migration and Asylum (edited with Jeff Crisp), Palgrave Macmillan, 2005.

Mexican Immigration to the United States, editor, University of Chicago Press, 2007.

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Publications (Continued)

2. Articles

“Specific Training and Its Effects on the Human Capital Investment Profile” (with Ann P.
Bartel), Southern Economic Journal, October 1977, pp. 333-341.

“Middle-Age Job Mobility: Its Determinants and Consequences” (with Ann P. Bartel), in Men in
the Pre-Retirement Years, edited by Seymour Wolfbein, Temple University Press, 1977,
pp. 39-97.

“The Economics of Job Search: A Comment” (with Matthew S. Goldberg), Economic Inquiry,
January 1978, pp. 119-125.

“The Distribution of Earnings Profiles in Longitudinal Data” (with Jacob Mincer), in Income
Distribution and Economic Inequality, edited by Zvi Griliches, et al., Halsted Press,
1978, pp. 175-197.

“Discrimination in HEW: Is the Doctor Sick or Are the Patients Healthy?” Journal of Law and
Economics, April 1978, pp. 97-110. Reprinted in Chicago Studies in Political Economy,
edited by George J. Stigler, University of Chicago Press, 1988, pp. 426-440.

“Biased Screening and Discrimination in the Labor Market” (with Matthew S. Goldberg),
American Economic Review, December 1978, pp. 918-922. ,

“Labor Supply Estimates for Public Policy Evaluation” (with James J. Heckman), Proceedings of
the Thirty-First Annual Meetings of the Industrial Relations Research Association, 1979,
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APPENDIX B
TESTIMONY WITHIN THE PAST FOUR YEARS

1. United States District Court, Eastern District of Tennessee
Birda Trollinger, et al. v. Tyson Foods, Inc., Case No. 4:02-cv-23 — September
2007
Deposition Testimony

.2. United States District Court, Eastern District of Tennessee
Birda Trollinger, et al. v. Tyson Foods, Inc., Case No. 4:02-cv-23 — November
2007
Daubert Testimony

3. United States Senate, Committee on Health, Education, Labor, and Pensions,
Presented to Subcommittee on Immigration and Claims, Employment Based
Immigration: An Examination of the Canadian Point System for Skilled Workers
and Business Immigrants—September 14, 2006
Congressional Testimony

4. United States District Court, Northern District of California
Jane Doe I, et al. v. Lakireddy Bali Reddy, et al, Case No. C 02-05570 WHA -2005

Deposition Testimony

5. United States District Court, Middle District of Pennsylvania
Lozano, et al. v. City of Hazleton, Case No. 3:2006cv01586 - March 2007

Courtroom Testimony

6. United States District Court, Eastern District of Washington
Ambrosio Marin, et al. v. William Evans, et al., Case No. 06-cv-3090-RHW —
January 2008 \
Deposition Testimony

7. United States District Court, Eastern District of California
Robin Brewer v. Scott Salyer, Case No 1:06-CV-01324-A WI-DLB — January 2008

Deposition Testimony

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APPENDIX C

MATERIALS REVIEWED AND/OR RELIED UPON BY GEORGE BORJAS, PH.D.

Legal Filings:

Swift Beef Company and Swift & Company’s Responses to Putative Class
Representatives’ First and Second Set of Interrogatories

Swift Beef Company and Swift & Company’s First Supplemental Responses to Putative
Class Representatives’ First and Second Set of Interrogatories

Swift Beef Company and Swift & Company’s Second Supplemental Responses to
Putative Class Representatives’ First and Second Set of Interrogatories

Deposition of Douglas W. Schult, taken April 8, 2008.

Deposition of James A.R. Hamilton, taken April 9, 2008.

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Deposition of Kathy E. Weber, taken April 8, 2008.

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